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1 3
t 1 IN THE UNITED STATES DISTRICT COURT 1 WITNESS INDEX
2 FOR THE DISTRICT OF MAINE 5 2 Page
3 3 WITNESS; DAVID RUDOLPH
4 a 4
5 MICHAEL McCUE, personal ~ yo 5 Examination by: Mx. Van Dyke 4 50
6 representative of the estate y 6 Mr. Badger 48
7 of Phillip McCue, Deceased, ——) 7
8 }) Civil Action 8 INDEX OF EXHIBITS*
9 Plaintiff, } Case No. 1:14-cv-0098-GzS 9
10 ) 10 No. Description Marked
i vs. ) 1
12 ) 12 1 Bangor Police Department investigative
13 CITY OF BANGOR, MAINE, et al., } 13 narrative report prepared by Detective
4 ) 14 Brik Tall dated 9/12/12 interview of
is Defendants. ) 18 Mr, Rudolph. 11
16 16 2 Patient Care Report from the Bangor
17 a7 Fire Department, Incident No, 1953619,
18 DEPOSITION of DAVID RUDOLPH, taken pursuant 18 re Phillip McCue LL
19 to Notice, at the offices of Richardson, Whitman, 19 3 Incident Report No. 2012~-1953619 11
20 Large & Badger, One Merchants Plaza, Bangor, Maine, 20
aL beginning at 12:07 p.m., December 11, 2014, before 21 “Exhibits 1 through 3 retained by Attorney Van Dyke.
22 Rebecca M. Pearson, a Notary Public in and for the 22
23 State of Maine. 23
24 24
25 25
\
. 4
1 (This deposition was taken before Rebecca
2
2 M. Pearson, RPR, a Notary Public for the state of
3 Maine, at the offices of Richardson, Whitman, Large &
i APPEARANCES: 4 Badger, One Merchants Plaza, Bangor, Maine, on
2 For the Plaintiff: DAVID J, VAN DYKE, ESQ. vio:
3 5 December 11, 2014, beginning at 12:07 p.m.)
4 For the Defendants: FREDERICK J. BADGER, JR., ESQ. 6 (The deponent was administered the oath by
5 JOSHUA A. RANDLETT, ESQ. 7 the Notary Public.)
6 :
; 8 DAVID RUDOLPH, having been duly sworn by the Notary
8 9 Public, was examined and deposed as follows:
: 10 EXAMINATION
10
O 11. BY MR. VAN DYKE:
12 12 @ Sir, you are David Rudolph, correct?
8 13 A’ Lam.
a4
1s 14 @ > And you spell your last name RU DOL PH, correct?
16 15 A Correct.
u 16 Q = You are here today pursuant to a notice of your
18 hat
e 17 deposition.
20 18 Are you aware of that?
a 19 A tam.
22 ’
3 20 @ Have you ever had your deposition taken before?
fo 21 A Thave not. ‘
3 2 % EXHIBIT
me 2s 22 Q_ I'm sure that you were toly
as ol
23 Attorney Badger, but esse e
: : : ek
24 fairly brief verbal question) 43
and
25 you're going to be under oF .

 

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13 15
4 day in the morning. 1 Firefighter/Paramedic John York and Fighter/Paramedic
2 Q 7:55 a.m. - 2 Greg Hodge. Greg Hodge was the acting officer that
3 A Correct. 3 evening.
4 @Q > -- onthe 12th until 7:55 a.m. -- 4 @Q_ So he would have been the superior officer?
5 A A.m. on the 13th. 5 A Correct. He was the acting lieutenant.
6 Q_ -- onthe 13th? 6 @Q@ Do you know where you were coming from in this engine?
7 A’ Correct. 7 A We were coming from Willow Street.
8 @Q And was that a common shift? 8 @ _ Idon't know where Willow Street is in Bangor. Tell
9 A itis a regular shift, yeah. 9 me where that is in relation to the Central Fire
10 @ How many of those shifts do you normally work a week? 410 Station.
11 A Approximately to a week. 11 A itis off Center Street.
12 Q Were you assigned to any particular location that day? 12 Q So you would be traveling southbound toward the
13 A Iwas. 13 casino?
14 @Q > What location? 14. A Correct.
45 A For the day shift or the night shift? 15 @Q With the intention of pulling into the Central
16 Q > Good point. Is that 24-hour shift divided into two 16 Station?
17 portions? 17 A Correct.
18 A itis. There's a ten-hour day shift and 14-hour night 18 Q > What did you observe?
19 shift. 19 A At which moment?
20 Q = I'massuming that the events that bring us here today 20 Q The first time you had any understanding that there
21 occurred during the night shift? 21 was anything to do with Mr. McCue or the events of
22 A They did. 22 that evening.
23 @ ~ Tell me, where were you assigned for the day shift? 23 A Certainly. As indicated in my report to Detective
24 A For the day shift I believe I was on Engine No. 1 -- 24 Tall, we were returning to Central Fire coming down.
25 excuse me -~ Ladder No. 1. 25 Main Street. We were stopped at the traffic light at
14 16
1 Q@ > Where is that located? 1 the interaction of Main and Cedar Street.
2 A That's located at Central Station. 2 QQ Right in front of the homeless shelter?
3 Q On Main Street? 3 A Correct. Waiting for the light to turn when I --
4 A Correct. 4 @ Let me just cut you off, and I don't mean to be rude.
5 @Q And where were you assigned for the night shift? 5 Where in the fire truck would you have been
6 A I'ddone a mutual swap and was assigned to Engine No. 6 seated?
7 1. 7 A twas behind the passenger. So I was --
8 @ Where was that? 8 essentially our seats are back to back in the fire
9 A At Central Station. 9 engine. So I was on the passenger side facing
10 Q So you were assigned to different engines, but at the 10 rearward.
11 same location? 41. Q > Facing backward?
12 A Correct, yeah. 12 A Correct.
13 @Q So you never physically had to move? 13. Q Do you have a window or some other means by which you
14 A Idid not, no. 14 can look out when you're seated there?
15 @Q just the engine you would have ridden on was changed, 15 A Yeah. There's a side window, as well as -- well, I
16 correct? 16 can turn and look through the windshield itself.
17 A Correct, yeah. 17 Q > Okay. What's the first that you had any indication
18 Q@ > Okay. What was the first that you had any knowledge 18 that there was anything to do with Mr. McCue or the
19 or understanding of any kind whatsoever regarding 19 events of that evening?
20 either Mr. McCue or the events of that evening that 20 A Certainly. While pulling up to that intersection, I
21 resulted later in his death? 21 noticed a police cruiser coming down Cedar Street and
22 A Wewere riding in Engine 1 returning from another 22 turned and looked through the windshield, saw another
23 call. We are returning to Central Station. 23 police cruiser, I believe (examining document) coming
24 @~ who would have been in that engine with you? 24 up Main Street and witnessed an individual walking in
25 A Would have been myself, Driver/Operator Ron Green, 25 front of Central Fire Station.
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17 19
1 @~ Was that the individual who turned out to be Mr. 4 between Mr. McCue and police officers, you were inside
2 McCue? 2 the engine?
3 A_ I believe so. 3 A Iwas and we were actually preparing and putting our
4 @Q = You say he was walking in front of the Central Fire 4 equipment back together from the previous call that we
5 Station? 5 had just come from on Willow Street.
6 A Tomy knowledge. 6 @Q_ So during this time while the confrontation is going
7 Q@. Was he walking in a northerly direction toward 7 on between the police officers and Mr. McCue, you
8 downtown or a southerly direction toward the casino? 8 can't see anything of that?
9 A Idon't recall. 9 A I could not, no.
10 @Q _ Was he on the sidewalk, or was he in the street? 410 @ = And you were doing something that was totally
11 A I don't recall that either. 11 unrelated?
12 Q > Do you recall anything that you observed regarding his 12 A’ Iwas, yes.
13 presentation? 13. @~ And your other crew members were also doing something
14 A It was dark. Couldn't really see much as far as his 14 totally unrelated?
15 appearance or mannerisms or anything like that. 15 A I cannot say as to what their -- as to what they were
46 @ What did you then observe? 16 doing.
17 A Lobserved that individual crossing the street. 17 @Q Did they appear to be talking among themselves about
18 @ That's Main Street? 18 what was happening with Mr. McCue or not?
19 A Correct, yeah. So crossing essentially from the front 19 A No, I can't recall, no.
20 portion of Central Fire Station across the street kind 20 @ Do you recall seeing any of the confrontation at all?
21 of towards the vacant lot that sits kind of next to 21 A’ Idonot.
22 the -- next to the sidewalk there. 22 @Q But for the events with Mr. McCue, the fire engine
23 Q_ So he was walking across the street toward the river? 23 would normally have been pulled into the Central Fire
24 A Correct, yeah. 24 Station, correct?
25 @ = You actually saw him do that? 25 A Correct.
18 20
1 A’ Idid. 1 @Q Did you have an understanding as to why the fire
2 @Q_ And what did you then see? 2 engine had been stopped in the middle of the street?
3 A Ithen saw him end up on the ground at some point. 3 A Idid, yes.
4 @Q Did you see how he ended up on the ground? 4 @Q_ Did someone say something?
5 A Idid not. There was a police officer behind him at 5 A Yes. The acting lieutenant instructed the driver to
6 that point who had stopped, but as far as what manner 6 go ahead and pull and block traffic as we did as he
7 they used to get him onto the ground, I don't recail. 7 said that he observed traffic coming down Main Street.
8 @ For example, did you see him trip or did you see him 8 @Q That was Mr. Hodge?
9 be taken down? 9 A Correct.
10 A Idid not, no. 10 @ Okay. So I take it that a period of time passes while
11. Q > You didn't see either way? 11 you are still inside the engine taking care of
12 A No. I just -- I can't recall. 12 equipment from the prior call?
13 Q > Okay. 13 A It did, yeah.
14 A AIlI know is that at some point while he was walking, 14 @ > And at some point did that change?
15 whether he tripped or whether it was by some other 15 A’ Yes.
16 means, I can't say specifically. 16 Q > What happened?
17 @ Allright. What did you then observe? 17 A 1-- Acting Lieutenant Hodge came to my window, which
18 A Ithen -- we pulled the engine up past the scene, and 18 was partially down, and said the -- we need to go
19 I say we, the driver/operator pulled the engine up 19 evaluate this guy.
20 past the scene to block traffic while, while the 20 @ Do you have any sense of how long you were in the
21 Police Department worked and did their jobs. And at 21 engine between the time it had pulled out into the
22 that point because of the nature of the way the fire 22 street --
23 engine was blocking, I didn't see much, much else 23 A Mm-hmm. .
24 following that. 24 @Q > -- and the time when Mr. Hodge had knocked on your
25 @ > So you were -- throughout the ensuing confrontation 25 window to tell you to come out and conduct an
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21 23
1 evaluation. 1 Q > And what did you do?
2 A Idonot. 2 A We approached the patient. Acting Lieutenant Hodge
3 Q Would I be correct in assuming that could be measured 3 had indicated to me that he believed the patient was
4 in minutes? 4 unresponsive. We approached the patient and assessed
5 A Idontt recall. 5 and evaluated his current condition.
6 Q During the period of the interlude while you are in 6 @Q Were the four of you from the fire engine the first
7 the engine attending to other business -- 7 people of a paramedic or EMT nature to reach Mr.
8 A Certainly. 8 McCue?
9 @ _ -- what were your other three firemen doing? 9 A I believe we were.
10 A’ I don't recall specifically what they were doing. 10 Q = Now, I will represent to you, sir, that there was a
11 Like I said, I was -- I was focused on putting the 11 video taken from a car cam from police cruiser No.
12 equipment back together. We had just worked another | 12 22 --
13 cardiac arrest just prior to that so -- 13 A Okay.
14 @ Did all three of the other gentlemen stay in the 14. Q > -- which shows firemen coming out of the engine
15 engine? 15 walking toward Mr. McCue putting gloves on.
16 A Idon't believe so. 16 A Okay.
17. @Q Do you know where any of them went? 17 Q@ Do you recall doing that?
18 A I believe Lieutenant Hodge got out just to direct 18 A_ Putting on body substance isolation is common practice
19 traffic around the engine. 19 SO -~
20 @_ Did the other two stay in, to the best of your 20 @ {actually think I saw you doing that so --
21 recollection? 21 A Okay. So sure.
22 A Idon't recall specifically but -- 22 Q = So you would have walked out of the engine toward Mr.
23 @~ Now, in the group of four of you, how many were 23 McCue?
24 paramedics? 24 A Certainly.
25 A There were three paramedics. 25 @Q > And you believe that the four of you roughly got to
22 24
1 @ > And who were those paramedics? 4 him about the same time?
2 A John York, myself and Greg Hodge. 2 A Yes.
3 @ So the driver/operator was not a paramedic? 3. @ And the four of you were the first people to get to
4 A Ibelieve he's an EMT. 4 him?
5 @ SoMr. Hodge, who had been outside directing traffic, 5 A We were.
6 comes over, knocks on your window. 6 @ Was any one of you in charge once the medical aspect
7 A Yes, sir. 7 began?
8 @Q > And tells you that you should come out and evaluate 8 A. As far as at that point, it's tough to indicate
9 the individual? 9 whether there's one specific leader. Like I said,
10 A Correct. 10 there's three of us that all have the same license
41. @_ Did he direct this to you in particular or to the 11 level. We all have a pretty good understanding of
12 three of you? 12 where a specific cali is going. So we all -- we all
13 A Tothe engine company. 13 fulfill the tasks that need to be done.
14 @ Any one of the three of you? 14 @_ It was more or less a cooperative effort?
15 A Yeah. We were all, all right there in the same cab, I 15 A Correct.
16 believe, so -- 16 Q_ So it wasn't that someone said this is your case,
17 Q > Who came out at that point? 17 David, as opposed to this is your case, John York, or
18 A Who stepped out of the engine? 18 something?
19 Q Right. 19 A Right, yeah. Yes.
20 A Myself, and like I said, I don't recall whether the 20 Q@ So when you walked up to Mr. McCue, what did you --
21 others were in or out, but when I came around the back | 21 what did you observe?
22 of the engine, the entire engine company was there. 22 A Excuse me while I refer back to just refresh my
23 @ So by the time you got out of the engine, all of you 23 memory.
24 had come out of the engine? 24 @Q Feel free to utilize Exhibit 1 if necessary to refresh
25 A Correct. 25 your recollection.
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29 31
1 his leg restraints? 1 A No.
2 A As1I indicated earlier, I don't -- I don't recall. 2 @Q > Do you recall you or one of your fellow engine mates
3 @Q > So someone requested that the handcuffs be removed? 3 asking for that kind of information?
4 A Yes, sir. 4 A Ido not.
5 @ And that was done? 5 Q > Would that -- would that kind of information have been
6 A_ Yes, sir. 6 helpful to you in what you had to do?
7 @ > Do you know which officer removed the handcuffs? 7 Al mean, we were presented with a patient with certain
8 A Ido not. 8 symptoms, and we're trained to treat those symptoms as
9 @ Once the handcuffs were removed, what happened? 9 we see them so --
10 A We replaced the patient on a stretcher, and on 10 Q@ So at that moment it didn't really matter what had
11 verification of pulselessness and apnea were 1 caused him to become subject to cardiac arrest?
12 confirmed, we began chest compressions. 12 A As far as our patient care, no.
13. Q@_ Was he placed facedown or face up into the stretcher? 13. @ Now, I understand from my own research that there is a
14 A At that point he would have been in a supine position 14 protocol that must be followed when confronted with a
15 on his back. 15 person who was, for example, not breathing.
16 Q Supine being the opposite of pronate? 16 A Correct.
17 A Correct. 17 @Q > And it's actually defined in Maine state law?
18 @Q He was nonresponsive? 18 A Okay. If you say so.
19 A Hewas. 19 Q > Well, there are Maine standards?
20 Q > Could you tell from his condition what manner of cause 20 A_ There are Maine state EMS protocols.
21 had caused him to be nonresponsive? 21 @Q = Correct. What does the protocol require when
22 A Ido not, no. 22 confronted with an individual who is not responsive
23 @Q_ Did anyone make any type of diagnosis at that point? 23 and not breathing?
24 A Just initial cardiac arrest. 24 A initiation of CPR.
25 @Q But cardiac arrest can be caused by many things? 25 @ And that was done immediately?
30 32
1 A Itcan be, correct. 1 A It was when we arrived.
2 @ Did you have any sense of what had caused the cardiac 2 @Q@ > Who initiated the CPR on Mr. McCue?
3 arrest? 3 A Ican't recall who as far as what specific tasks were
4 A Ido not. 4 doled out. I can't -- I can't recall that.
5 @ For example, hyperacidosis, hypermetabolic problems, 5 @Q The CPR was not successful in reviving Mr. McCue, was
6 asphyxia, anything of that nature? 6 it, at the scene?
7 A There's a plethora of causes to cardiac arrest. 7 A At the scene?
8 @Q_ Lunderstand. 8 Q Right.
9 A Without having machines and diagnostic tools right 9 A It's a progressive process.
10 there, simply we saw the problem that we had a 10 Q > A heartbeat or pulse was not resumed at the scene?
11 pulseless and apneic patient, and we administered CPR 11 A’ At thescene, no.
12 following our Maine state protocol. 12 Q I'd like to just have you educate me --
13. Q@ > And apneic, when you say apneic, you're referring 13 A Certainly.
14 to -- 14. Q > - with regard to some of the content of Exhibits 2
15 A Nonbreathing. 15 and Exhibits 3.
16 Q Right. Now, you knew there had been a confrontation 16 A Okay.
17 between Mr. McCue and some police officers? 17 Q > And T'll represent to you, sir, I saw Exhibit 2a
18 A 1--like I said, I didn't witness it specifically 18 couple years ago.
19 myself. 19 A Okay. Certainly.
20 @_ Did any of the officers tell you what they had 20 Q@ = Sol'm well familiar with Exhibit 2.
21 observed or done with regard to Mr. McCue in the 21 A Yeah.
22 ensuing -- in the prior minutes before they called you 22 @Q I'd like to call your attention to page 3 of
23 over? 23 Exhibit No. 2.
24 A Not that I recall. 24 A Okay. (Examining document)
25 @Q_ Give you guidance what might have been the problem? 25 @Q > That has an Assessment Intervention Table.
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41 43
1 A Certainly. That just means that while we were 4 Q > What do you mean by that?
2 continuing to perform chest compressions, patient's 2 A Sonormally the document would end on transfer of
3 cardiac rhythm did not change. And the administration 3 care, but at some point during that, we noticed,
4 of the 1 milligram of epi en route and continued CPR 4 according to the document at 2118, that the pulse
5 follows our Maine state protocols for management of an 5 returned, And that was during the transition of
6 asystolic patient. 6 patient care between ambulance personnel and staff at
7 @Q_ Did you travel to the hospital with the ambulance 7 the hospital.
8 staff and with Mr. McCue? 8 @Q So was the heartbeat that was induced obtained while
9 A Idid. 9 he was still in the ambulance or at the hospital?
10 @ How many of your four engine mates of the four of you 10 A According to the document, it looks like it was at the
14 together traveled in the ambulance? 11 hospital during transition of patient care, because we
12 A 1 believe as far as the engine personnel goes was 12 have to move the patient from our stretcher obviously
13 myself and Mr. York, and Mr. Hodge drove the ambulance | 13 on to a hospital stretcher at that point, and change
14 that night, I believe, to the hospital. 14 over all of our equipment over to the hospital staff's
15 @_ So there would have been three of the four of you were 15 equipment so --
16 in the ambulance, and there was also an ambulance 16 Q@ > Once he arrived at the ER at EMMC --
17 person? 17 A) Mm-hmm.
18 A There was two ambulance personnel. 18 @~ -- your role, I would assume, ends?
49 @Q Two ambulance personnel. 19 A Yeah.
20 A Yeah. 20 Q@ Because there's staff at the hospital that can do what
21 @Q@ And while the three-minute trip to Eastern Maine 21 you do?
22 Medical Center was occurring, you folks were 22 A There is, yes.
23 continuing to attempt to provide CPR as per the 23. Q Did you have any continuing role after the arrival of
24 protocol? 24 Mr. McCue at the hospital?
25 A Wewere, yes. 25 A Not that I recall.
42 , 44
1. @Q > You were not able to induce any heart rhythm until you 1 @Q@ > And normally you would just say here he is and then
2 got to the hospital? 2 you'd be done?
3 A Until -- yes. 3 A Yeah. I mean, we would transfer patient care which
4 @Q > That's what that line means? 4 includes a brief explanation, essentially similar to
5 A Correct. 5 the narrative that's written here, interventions that
6 @Q You gave epinephrine on two occasions at 9:11 and 6 we performed. We would assist registration in
7 9:13:30? 7 identifying name, date of birth, stuff like that. We
8 A Correct. 8 would have the hospital staff sign a sheet of paper, —
9 @Q > Now, the narrative indicates that the ambulance Q and we would receive a demographic sheet for billing
10 arrived at the hospital at 9:15, according to the 10 purposes, and then we would put our apparatus back
11 second page of the exhibit. 4 together.
12 A (Examining document) Okay. 12 Q@ And as far as you know, that's what happened in this
13. @_ So the last or the second epinephrine shot would have 13 case?
14 been 30 seconds before that approximately? 14 A Ican't recall specifically, but I would assume so.
15 A According to the -- yes. 15 Q > Who is Jeffrey Brown?
16 Q_ Still, still in the ambulance? 16 A Jeffrey Brown is the individual who was originally
17 A Correct. 17 assigned to Engine 1 for that day shift, and he and I
18 @Q@ And then vitals were taken again three-and-a-half 18 had the mutual swap for the evening.
19 minutes after he arrived at the hospital at 1830, 19 Q@ > So if a record indicates Jeffrey Brown, that's just a
20 correct? 20 clerical error that failed to recognize ~-
21 A According to the document, yes. 21 A Yeah. They just didn't change it over on that evening
22 @ > Right. So this document would have continued to carry 22 in the computer system.
23 forth in the care even after he left in the ambulance? 23. Q Do you have any way of knowing how long Mr. McCue had
24 A Only, only because of the nature of the change in 24 been asystole before you arrived to him?
25 cardiac rhythm upon transfer of care at the hospital. 25 A Ido not.
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49 51
4 section in the -- roughly in the middle, it says 4 police side. And as to their responsibility as to
2 person involved, Bruce D. Oaks. We know the person 2 when things are clicked and entered into the computer
3 we've been talking about is Phillip McCue. 3 system, that I have no knowledge of so --
4 And why does this Exhibit 3 reference Bruce Oaks? 4 Okay. You've answered my question.
5 A To my knowledge that would be the complainant of the 5 MR. VAN DYKE: Thank you very much, sir.
6 incident, the original incident. Whatever -- 6 (The deposition concluded at 1:05 p.m.)
7 @Q~ The person who would have called into-the Police 7
8 Department -- 8
9 A Correct. 9
10 Q > -- or dispatch? 10
11. A Yeah. 11
12 Q > All right. 12
13 A Indicating some sort of problem. 13
14. Q ) Okay. At the top of Exhibit, 3 there -- it says alarm 14
16 date and time 2106. 15
16 Is that the time that the Fire Department gets 16
17 the call to respond? 17
18 A So those times would match up with those of Exhibit 2, 18
19 I belleve, as far as when, whenever dispatch updates 19
20 that information. 20
21 Q = Okay. 21
22 A_ ican't speak to their -- dispatch's process of time 22
23 stamping things. 23
24 Q Okay. 24
25 A They would have a radio recording of that stuff. 25
60 52
4 @ > The next time down says arrival time 2106:18, would 1 CERTIFICATE
2 that be 18 seconds that elapsed between alarm date and 2 1, Rebecca M. Pearson, RPR, a Notary Public in
3 time and arrival time; is that how you read that? 3 and for the State of Maine, hereby certify that on the
4 A Which -- (examining documents) Yes, yeah. 4 11th day of December, 2014, personally appeared before
5 MR. BADGER: I think that's all I have, too. 5 me at the offices of Richardson, Whitman, Large &
6 EXAMINATION 6 Badger, One Merchants Plaza, Bangor, Maine, the
7 BY MR. VAN DYKE: 7 within-named deponent, DAVID RUDOLPH, who was sworn to
8 testify the truth, the whole truth, and nothing but
8 @Q Just out of curiosity, is there a central dispatch for 9 the truth in the cause of action MICHAEL McCUE v. CITY
9 both fire and police? 10 OF BANGOR, MAINE, et al.
10 A There is. 11 I further certify that this deposition was
11. @  Asingle dispatch? 12 stenographically reported by me and later reduced to
12 A Correct. They're all employees of the Police 13 computerized transcription, and that the foregoing is
13 Department, but they have designated fire dispatchers 14 a full and true record of the testimony given by the
14 and designated police dispatchers. They're 15 deponent.
15 interchangeable. They work, you know, kind of ina 16 I further certify that I am a disinterested
146 rotation over there, but the Fire Department has 17 person in the event or outcome of the above-named
17 specific dispatchers for that 24-hour shift or 18 cause of action.
18 whatever their operating period is, and then the 19 IN WITNESS WHEREOF, I subscribe my hand this 27th
19 Police Department has their designated dispatchers. ” day of December, 2014.
20 @Q_ The times should align though? 22
21 A As far as? rt davon
22 Q  Apolice record and a fire record of a dispatched call 23 Arebecceitf RPR
23 should have the same times for the same call? Notary Public
24 A tike I said, there's two separate dispatchers, one 24 My commission expires:
25 dealing with the fire side and one dealing with the 25 February 22, 2016

 

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